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                                                        UNITED STATES DISTRICT COURT
                                                        SOUTHERN DISTRICT OF FLORIDA
                                                        Case No. 11-61931-CIV-UNGARO
 LYNNE M. BALTHAZOR,

         Plaintiff,

 v.

 ASSET MANAGEMENT
 PROFESSIONALS, LLC,

       Defendant.
 ________________________

                      ORDER ON MOTION FOR ENTRY OF JUDGMENT
         THIS CAUSE is before the Court upon the Motion for Entry of Final Judgment. (D.E.

 22.)

         THE COURT has reviewed the Motion and the pertinent portions of the record and is

 otherwise fully advised in the premises.

         Plaintiff timely accepted Defendant’s Offer of Judgment (D.E. 19) and now moves the

 Court for entry of a judgment of $1,000.00 in favor of Plaintiff, exclusive of attorney fees and

 costs. Defendant does not oppose the entry of a judgment in this amount. Accordingly, it is

         ORDERED AND ADJUDGED that the Motion (D.E. 22) is GRANTED. The Court will

 separately enter a final judgment in favor of Plaintiff. It is further

         ORDERED AND ADJUDGED that Plaintiff SHALL file its motion for judgment of
 costs and fees no later than February 15, 2012. The Court will not entertain a motion for costs

 and fees filed after that date.

         ORDERED AND ADJUDGED that for administrative purposes this case is hereby

 CLOSED.

         DONE AND ORDERED in Chambers at Miami, Florida, this 9th day of February, 2012.



                                                _______________________________
                                                URSULA UNGARO
                                                UNITED STATES DISTRICT JUDGE
 copies provided: counsel of record
